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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                            CASE NO. 1:08-cr-00025-MP-AK

DANIEL CHESTER REAVES,

      Defendant.
___________________________/

                                            ORDER

       This matter is before the Court on Doc. 56, Motion for Hearing, filed by Defendant

Daniel Chester Reaves. Defendant’s request for a hearing is GRANTED. A hearing on this

matter is hereby set for Thursday, December 11, 2008 at 1:30 p.m. The Court will consider

Defendant’s request for pre-trial release at that time.

       DONE AND ORDERED this              3rd day of December, 2008


                                        s/Maurice M. Paul
                                  Maurice M. Paul, Senior District Judge
